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A0245D                                                             #2529
             (Rev. 09/1 !) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT                                                                   l?l.fS'l)
                                                                                                                    & C'(                ~
                                                          Southern District of Illinois                                 Oo.{'!r,._·:t . . c ~~
                                                                                                                             'l.:t~ 0:0'
         UNITED STATES OF AMERICA                                        Judgment in a Criminal Case                        ::~&~~~·
                                                                                                                              1Vr ~fV, ~'(>
                     v.                                                  (For Revocation of Probation or Supervised Release)
                                                                                                                                01\1 o;;j. o; ~O>u
              Amanda N. Marcum                                                                                                               tc12 11..t.. 1tv'!?r
                                                                                                                                                            0;~.

                                                                         Case No. 4:06CR40019-06
                                                                         USM No. 06855-025
                                                                           Judith A. Kuenneke, AFPD
                                                                                                  Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           as alleged below                  of the term of supervision.
0   was found in violation of condition(s)             - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                            Nature of Violation                                  Violation Ended
Statutory                       The defendant possessed methamphetamine                                       01/02/2013

Standard #9                     The defendant associated with a convicted felon                               01/02/2013




       The defendant is sentenced as provided in pages 2 through              2      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0   The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant' s Soc. Sec. No.: 8757                      01/25/2013

Defendant'sYearofBirth:             1986

City and State ofDefendant' s Residence:
Salem, IL 62881
                                                                           J. Phil                                      District Judge
                                                                                                Name and Title of Judge


                                                                               ~~7 ;~#/3                  Date
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  AO 2450                                                             #2531
                (Rev. 09/ 11) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                     Judgment- Page   _ _,2=--- of   2
  DEFENDANT: Amanda N. Marcum
  CASE NUMBER: 4:06CR40019-06


                                                                     IMPRISONMENT

         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a total
  term of:
15 months




      'i/ The court makes the following recommendations to the Bureau of Prisons:
That the defendant be placed in a parenting program and a mental health program.




      'i/ The defendant is remanded to the custody of the United States Marshal.
      0     The defendant shall surrender to the United States Marshal for this district:
            0    at
                       ------------------- 0        a.m.              0     p.m.    on
            0    as notified by the United States Marshal.

      0   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0      before 2 p.m. on
          0      as notified by the United States Marshal.
          0      as notified by the Probation or Pretrial Services Office.

                                                                            RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                         to

 at   --------------------------- with a certified copy of this judgment.




                                                                                                 UNITED STATES MARSHAL



                                                                                   By ------~~~~~~~~~~~~------­
                                                                                              DEPUTY UNITED STATES MARSHAL
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